Case 2:15-cv-03378-JFW-MRW Document 237-3 Filed 11/09/16 Page 1 of 48 Page ID
                                 #:9194




                      EXHIBIT 35
                       PART 2
         REDACTED Version of Document Filed Under Seal
   Pursuant to Court Order Dated October 28, 2016 (Docket No. 141)
                       and Pending Court Order
Case 2:15-cv-03378-JFW-MRW Document 237-3 Filed 11/09/16 Page 2 of 48 Page ID
                                 #:9195




                             Golden Boy's Summary Judgment Exhibit No. 35
                                                                    -115-
Case 2:15-cv-03378-JFW-MRW Document 237-3 Filed 11/09/16 Page 3 of 48 Page ID
                                 #:9196




                             Golden Boy's Summary Judgment Exhibit No. 35
                                                                    -116-
Case 2:15-cv-03378-JFW-MRW Document 237-3 Filed 11/09/16 Page 4 of 48 Page ID
                                 #:9197




                             Golden Boy's Summary Judgment Exhibit No. 35
                                                                    -117-
Case 2:15-cv-03378-JFW-MRW Document 237-3 Filed 11/09/16 Page 5 of 48 Page ID
                                 #:9198




                             Golden Boy's Summary Judgment Exhibit No. 35
                                                                    -118-
Case 2:15-cv-03378-JFW-MRW Document 237-3 Filed 11/09/16 Page 6 of 48 Page ID
                                 #:9199




                             Golden Boy's Summary Judgment Exhibit No. 35
                                                                    -119-
Case 2:15-cv-03378-JFW-MRW Document 237-3 Filed 11/09/16 Page 7 of 48 Page ID
                                 #:9200




                             Golden Boy's Summary Judgment Exhibit No. 35
                                                                    -120-
Case 2:15-cv-03378-JFW-MRW Document 237-3 Filed 11/09/16 Page 8 of 48 Page ID
                                 #:9201




                             Golden Boy's Summary Judgment Exhibit No. 35
                                                                    -121-
Case 2:15-cv-03378-JFW-MRW Document 237-3 Filed 11/09/16 Page 9 of 48 Page ID
                                 #:9202




                             Golden Boy's Summary Judgment Exhibit No. 35
                                                                    -122-
Case 2:15-cv-03378-JFW-MRW Document 237-3 Filed 11/09/16 Page 10 of 48 Page ID
                                  #:9203




                              Golden Boy's Summary Judgment Exhibit No. 35
                                                                     -123-
Case 2:15-cv-03378-JFW-MRW Document 237-3 Filed 11/09/16 Page 11 of 48 Page ID
                                  #:9204




                              Golden Boy's Summary Judgment Exhibit No. 35
                                                                     -124-
Case 2:15-cv-03378-JFW-MRW Document 237-3 Filed 11/09/16 Page 12 of 48 Page ID
                                  #:9205




                              Golden Boy's Summary Judgment Exhibit No. 35
                                                                     -125-
Case 2:15-cv-03378-JFW-MRW Document 237-3 Filed 11/09/16 Page 13 of 48 Page ID
                                  #:9206




                              Golden Boy's Summary Judgment Exhibit No. 35
                                                                     -126-
Case 2:15-cv-03378-JFW-MRW Document 237-3 Filed 11/09/16 Page 14 of 48 Page ID
                                  #:9207




                              Golden Boy's Summary Judgment Exhibit No. 35
                                                                     -127-
Case 2:15-cv-03378-JFW-MRW Document 237-3 Filed 11/09/16 Page 15 of 48 Page ID
                                  #:9208




                              Golden Boy's Summary Judgment Exhibit No. 35
                                                                     -128-
Case 2:15-cv-03378-JFW-MRW Document 237-3 Filed 11/09/16 Page 16 of 48 Page ID
                                  #:9209




                              Golden Boy's Summary Judgment Exhibit No. 35
                                                                     -129-
Case 2:15-cv-03378-JFW-MRW Document 237-3 Filed 11/09/16 Page 17 of 48 Page ID
                                  #:9210




                              Golden Boy's Summary Judgment Exhibit No. 35
                                                                     -130-
Case 2:15-cv-03378-JFW-MRW Document 237-3 Filed 11/09/16 Page 18 of 48 Page ID
                                  #:9211




                              Golden Boy's Summary Judgment Exhibit No. 35
                                                                     -131-
Case 2:15-cv-03378-JFW-MRW Document 237-3 Filed 11/09/16 Page 19 of 48 Page ID
                                  #:9212




                              Golden Boy's Summary Judgment Exhibit No. 35
                                                                     -132-
Case 2:15-cv-03378-JFW-MRW Document 237-3 Filed 11/09/16 Page 20 of 48 Page ID
                                  #:9213




                              Golden Boy's Summary Judgment Exhibit No. 35
                                                                     -133-
Case 2:15-cv-03378-JFW-MRW Document 237-3 Filed 11/09/16 Page 21 of 48 Page ID
                                  #:9214




                              Golden Boy's Summary Judgment Exhibit No. 35
                                                                     -134-
Case 2:15-cv-03378-JFW-MRW Document 237-3 Filed 11/09/16 Page 22 of 48 Page ID
                                  #:9215




                              Golden Boy's Summary Judgment Exhibit No. 35
                                                                     -135-
Case 2:15-cv-03378-JFW-MRW Document 237-3 Filed 11/09/16 Page 23 of 48 Page ID
                                  #:9216




                              Golden Boy's Summary Judgment Exhibit No. 35
                                                                     -136-
Case 2:15-cv-03378-JFW-MRW Document 237-3 Filed 11/09/16 Page 24 of 48 Page ID
                                  #:9217




                              Golden Boy's Summary Judgment Exhibit No. 35
                                                                     -137-
Case 2:15-cv-03378-JFW-MRW Document 237-3 Filed 11/09/16 Page 25 of 48 Page ID
                                  #:9218




                              Golden Boy's Summary Judgment Exhibit No. 35
                                                                     -138-
Case 2:15-cv-03378-JFW-MRW Document 237-3 Filed 11/09/16 Page 26 of 48 Page ID
                                  #:9219




                              Golden Boy's Summary Judgment Exhibit No. 35
                                                                     -139-
Case 2:15-cv-03378-JFW-MRW Document 237-3 Filed 11/09/16 Page 27 of 48 Page ID
                                  #:9220




                              Golden Boy's Summary Judgment Exhibit No. 35
                                                                     -140-
Case 2:15-cv-03378-JFW-MRW Document 237-3 Filed 11/09/16 Page 28 of 48 Page ID
                                  #:9221




                              Golden Boy's Summary Judgment Exhibit No. 35
                                                                     -141-
Case 2:15-cv-03378-JFW-MRW Document 237-3 Filed 11/09/16 Page 29 of 48 Page ID
                                  #:9222




                              Golden Boy's Summary Judgment Exhibit No. 35
                                                                     -142-
Case 2:15-cv-03378-JFW-MRW Document 237-3 Filed 11/09/16 Page 30 of 48 Page ID
                                  #:9223




                              Golden Boy's Summary Judgment Exhibit No. 35
                                                                     -143-
Case 2:15-cv-03378-JFW-MRW Document 237-3 Filed 11/09/16 Page 31 of 48 Page ID
                                  #:9224




                              Golden Boy's Summary Judgment Exhibit No. 35
                                                                     -144-
Case 2:15-cv-03378-JFW-MRW Document 237-3 Filed 11/09/16 Page 32 of 48 Page ID
                                  #:9225




                              Golden Boy's Summary Judgment Exhibit No. 35
                                                                     -145-
Case 2:15-cv-03378-JFW-MRW Document 237-3 Filed 11/09/16 Page 33 of 48 Page ID
                                  #:9226




                              Golden Boy's Summary Judgment Exhibit No. 35
                                                                     -146-
Case 2:15-cv-03378-JFW-MRW Document 237-3 Filed 11/09/16 Page 34 of 48 Page ID
                                  #:9227




                              Golden Boy's Summary Judgment Exhibit No. 35
                                                                     -147-
Case 2:15-cv-03378-JFW-MRW Document 237-3 Filed 11/09/16 Page 35 of 48 Page ID
                                  #:9228




                              Golden Boy's Summary Judgment Exhibit No. 35
                                                                     -148-
Case 2:15-cv-03378-JFW-MRW Document 237-3 Filed 11/09/16 Page 36 of 48 Page ID
                                  #:9229




                              Golden Boy's Summary Judgment Exhibit No. 35
                                                                     -149-
Case 2:15-cv-03378-JFW-MRW Document 237-3 Filed 11/09/16 Page 37 of 48 Page ID
                                  #:9230




                              Golden Boy's Summary Judgment Exhibit No. 35
                                                                     -150-
Case 2:15-cv-03378-JFW-MRW Document 237-3 Filed 11/09/16 Page 38 of 48 Page ID
                                  #:9231




                              Golden Boy's Summary Judgment Exhibit No. 35
                                                                     -151-
Case 2:15-cv-03378-JFW-MRW Document 237-3 Filed 11/09/16 Page 39 of 48 Page ID
                                  #:9232




                              Golden Boy's Summary Judgment Exhibit No. 35
                                                                     -152-
Case 2:15-cv-03378-JFW-MRW Document 237-3 Filed 11/09/16 Page 40 of 48 Page ID
                                  #:9233




                              Golden Boy's Summary Judgment Exhibit No. 35
                                                                     -153-
Case 2:15-cv-03378-JFW-MRW Document 237-3 Filed 11/09/16 Page 41 of 48 Page ID
                                  #:9234




                              Golden Boy's Summary Judgment Exhibit No. 35
                                                                     -154-
Case 2:15-cv-03378-JFW-MRW Document 237-3 Filed 11/09/16 Page 42 of 48 Page ID
                                  #:9235




                              Golden Boy's Summary Judgment Exhibit No. 35
                                                                     -155-
Case 2:15-cv-03378-JFW-MRW Document 237-3 Filed 11/09/16 Page 43 of 48 Page ID
                                  #:9236




                              Golden Boy's Summary Judgment Exhibit No. 35
                                                                     -156-
Case 2:15-cv-03378-JFW-MRW Document 237-3 Filed 11/09/16 Page 44 of 48 Page ID
                                  #:9237




                              Golden Boy's Summary Judgment Exhibit No. 35
                                                                     -157-
Case 2:15-cv-03378-JFW-MRW Document 237-3 Filed 11/09/16 Page 45 of 48 Page ID
                                  #:9238




                              Golden Boy's Summary Judgment Exhibit No. 35
                                                                     -158-
Case 2:15-cv-03378-JFW-MRW Document 237-3 Filed 11/09/16 Page 46 of 48 Page ID
                                  #:9239




                              Golden Boy's Summary Judgment Exhibit No. 35
                                                                     -159-
Case 2:15-cv-03378-JFW-MRW Document 237-3 Filed 11/09/16 Page 47 of 48 Page ID
                                  #:9240




                              Golden Boy's Summary Judgment Exhibit No. 35
                                                                     -160-
Case 2:15-cv-03378-JFW-MRW Document 237-3 Filed 11/09/16 Page 48 of 48 Page ID
                                  #:9241




                              Golden Boy's Summary Judgment Exhibit No. 35
                                                                     -161-
